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AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of &ROXPELD

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No.
                      Frank Dahlquist
                                                                    )
                      DOB: XXXXXX                                   )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of                              in the
                         LQ WKH 'LVWULFW RI       &ROXPELD      , the defendant(s) violated:

            Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(1),(2), and (4) - Knowingly Entering or Remaining in any Restricted Building
        or Grounds Without Lawful Authority,
        18 U.S.C. § 111(a)(1), Forcibly assaulting, resisting, opposing, or impeding a person designated in
        section 1114,
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder,
        40 U.S.C. § 5104(e)(2) (D) and (G) - Violent Entry and Disorderly Conduct on Capitol Grounds.
         This criminal complaint is based on these facts:
  6HH DWWDFKHG VWDWHPHQW RI IDFWV




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         u Continued on the attached sheet.


                                                                                               Complainant’s signature


                                                                                               Printed name and title
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                                                                                                    d ’ signature

City and state:                         :DVKLQJWRQ '&                      Robin M. Meriweather, U.S. Magistrate Judge
                                                                                               Printed name and title
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                                   STATEMENT OF FACTS

         Your Affiant,                       , is a Special Agent with the Federal Bureau of
Investigations (FBI), and have been since 2019. I have received training and gained experience in
interviewing and interrogation techniques, arrest procedures, search warrant applications, the
execution of searches and seizures, computer evidence identifications, computer evidence seizure
and processing, and various other criminal laws and procedures. I have personally participated in
the execution of search warrants involving the search and seizure of computer equipment. I have
received training on the methods and tactics of open source intelligence gathering. The facts in
this affidavit come from my personal observations, my training and experience, and information
obtained from other agents and witnesses. This Affidavit is intended to show simply that there is
sufficient probable cause for the requested warrant and does not set forth all of my knowledge
about this matter.

                                           Background

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House
and Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, around
2:00 PM, individuals in the crowd forced entry into the U.S. Capitol, including by breaking


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windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 PM, members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 PM. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to have been captured on mobile devices of persons present on the scene depicted
evidence of violations of local and federal law, including scores of individuals inside the U.S.
Capitol building without authority to be there.


                      Facts Specific to the Idenfication of DAHLQUIST

        I have reviewed a King 5 News television news story titled, “A group of King County
firefighters plea to drop vaccine mandate as jobs put in Jeopardy” which was published on April
18, 2022, and in which a firefighter in Washington state was pictured and named as "Frank
Dahlquist." I compared that image to footage from the vicinity of the Capitol on January 6, 2021,
as well as other footage from the Washington, D.C. area on January 5, 2021, and believe that the
images depict the same individual. The image on the right below is from the above-referenced
news story. The image on the left below is from an image captured on January 5, 2021.




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         On August 18, 2022, I interviewed two of DAHLQUIST’s superiors at the fire station
where he worked as a fireman in Issaquah, Washington. Both individuals had worked with
DAHLQUIST for multiple years. They were shown a group of images from the riot on January
6th, including many of those above, as well as DAHLQUIST’s Washington State driver’s license
photo and a video clip from the riot. They were able to immediately recognize and identify
DAHLQUIST based on his physical and facial features, handkerchief mask, and mannerisms. In
regard to the gray handkerchief mask, they specifically recalled that DAHLQUIST would
consistently wear that same “buff” (also commonly called a neck gaiter) to work at the fire station
as a COVID mask.

        One of DAHLQUIST’s superiors was able to provide DAHLQUIST’s personal cell
phone number as                      . DAHLQUIST’s personal phone number is the same number
that pinged in the restricted zone of the Capitol and the same number that sent the texts about
things getting “spicy” on January 6th and self-identifying as “Frank from Monroe,” as described
above.

                       Facts Specific to the Conduct of DAHLQUIST

        During the time DAHLQUIST was on the West Plaza, he was photographed and video-
recorded assaulting and attempting to assault police officers. In the picture below, DAHLQUIST
(framed in yellow) can be seen wearing a hat with a Spartan helmet logo, black beanie, and black
hoodie. At this point, he is wearing a gray handkerchief over the lower half of his face as a mask.
The following two images depict DAHLQUIST spraying an orange-colored chemical agent
directly into the face of a police officer (back of Officer’s head is framed in orange in the expanded
version of the yellow-framed inset).




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         DAHLQUIST was then captured on body-worn camera (BWC) assaulting another officer
with chemical spray on the same West Plaza, but at a location closer to the scaffolding seen on the
left of the first of the photographs included above. As shown in the image below, BWC recorded
DAHLQUIST spraying a chemical agent toward the face of                  of the Metropolitan Police
Department. (The yellow circle shows DAHLQUIST’s hand with his finger on the trigger of the
spray cannister.)               was interviewed and confirmed that he was in fact sprayed by the
individual whose hand is circled, and that he had to seek medical attention as a result. The video
footage was captured by the BWC of                         of the Metropolitan Police Department.
After the assault, DAHLQUIST can be seen fleeing from




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       Prior to the point at which he was sprayed,              BWC also captured a baseball hat
(framed in yellow below) falling in front of DAHLQUIST during a struggle involving
DAHLQUIST,                ., and other officers. The hat resembles the one worn by DAHLQUIST
during the first assault.




       DAHLQUIST was soon thereafter captured on BWC at a different location on the West
Plaza of the U.S. Capitol. DAHLQUIST can be seen on the right in each of the two screenshots
below wearing a black 1776 hoodie with the unknown white logo on the right sleeve, gray
handkerchief, and the black beanie he was previously pictured wearing. He no longer has the
baseball hat. In these pictures, it is now possible to see that he is wearing khaki pants.

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       Later, on the Upper West Terrace, DAHLQUIST was captured in a video that was later
posted to Youtube. In this video, he throws a piece of lumber over his shoulder, up into the air
and towards a group of law enforcement officers. It falls short, however, and does not come close

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to hitting them. In the screen capture below, DAHLQUIST (framed in yellow) can be seen wearing
the black beanie, black 1776 hoodie with the unknown white logo on the right sleeve, khaki pants,
and the gray handkerchief mask.




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        My investigation has revealed that DAHLQUIST also entered the Capitol building.
Internal security cameras captured DAHLQUIST inside the building. He entered the building at
3:06 PM through the Senate Wing Door. DAHLQUIST (framed in yellow) can be seen in the
screenshots below near the Senate Wing Door wearing the black beanie, black 1776 hoodie with
unknown white logo on the right sleeve, khaki pants, and gray handkerchief. As seen in the screen
captures below, he appears to be utilizing a cell phone to record video of his progression through
the building. Geolocation data indicates that phone number,                       , was being used
inside the restricted zone of the Capitol at approximately the same time that DAHLQUIST was
present. 1




1
 As discussed above, one of DAHLQUIST’s supervisors provided this number as
DAHLQUIST’s cellphone. Phone records indicate that DAHLQUIST was the subscriber for this
phone number at the time.

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       After lingering in the foyer near the Senate Wing Door for some minutes, DAHLQUIST
proceeded to the Crypt and walked around, still recording with his phone.




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        Finally, at 3:24 PM, DAHLQUIST left the building through the Senate Wing Doors.
DAHLQUIST was captured in a photo later posted to the social media website, Gab, as he appeared
to be leaving the Capitol by the Senate Doors. In the screenshots below, DAHLQUIST can be
seen a wearing the black beanie, black hoodie with stars in the front and unknown white logo on
the right sleeve, khaki pants, and gray handkerchief.




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       After exiting the United States Capitol building, DAHLQUIST remained on the Upper West
Terrace and continued to engage with law enforcement until at least 4:22 PM. In the images below,
he can be seen opposing the advance of Metropolitan Police Department and U.S. Capitol police
officers.




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                                           Conclusion

         Based on the foregoing, your affiant submits that there is probable cause to believe that
DAHLQUIST violated 18 U.S.C. § 1752(a)(1), (2), and (4) which make it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; and (4) knowingly engage in any
act of physical violence against any person or property in any restricted building or grounds; or
attempt or conspire to do so. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will


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be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.
        Your affiant submits there is also probable cause to believe that DAHQUIST violated 18
U.S.C. § 111(a)(1), which makes it a crime to forcibly assault, resist, oppose, impede, intimidate,
or interfere with any person designated in section 1114 of that title while engaged in or on account
of the performance of official duties, where such conduct involves physical contact with the victim
of that assault or the intent to commit another felony. For purposes of Section 1114 of Title 18,
an officer or employee is engaged in or on account of the performance of official duties, or any
person assisting such an officer or employee in the performance of such duties or on account of
that assistance.

        Your affiant also submits there is probable cause to believe that DAHQUIST violated 18
U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Secret Service’s protection of the Vice President and his family and the Capitol Police’s
protection of the U.S. Capitol.

        Finally, your affiant submits there is also probable cause to believe that DAHLQUIST
violated 40 U.S.C. § 5104(e)(2)(D) & (G), which makes it a crime to willfully and knowingly (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
in that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 4th day of January, 2024.                              2024.01.04
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                                                      ROBIN M MERRIWETHER
                                                      U.S. MAGISTRATE JUDGE

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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                              :       CASE NO.
                                                       :
              v.                                       :
 )5$1.'$+/48,67                                       :       VIOLATIONS:
                               Defendant.              :      86& D    DQG  
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                                                     ORDER

        This matter having come before the Court pursuant to the application of the United States to seal

criminal complaint, the Court finds that, because of such reasonable grounds to believe the disclosure will

result in flight from prosecution, destruction of or tampering with evidence, intimidation of potential

witnesses, and serious jeopardy to the investigation, the United States has established that a compelling

governmental interest exists to justify the requested sealing.



        1.       IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that the

affidavit in support of criminal complaint and other related materials, the instant application to seal, and

this Order are sealed until the arrest warrant is executed.

        2.       IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the public

docket of the arrest warrant until it is executed.


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                                           Robin M. Meriweather
                                           UNITED STATES MAGISTRATE JUDGE




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AO 442 (Rev. 11/11) Arrest Warrant



                                         UNITED STATES DISTRICT COURT
                                                                   for the

                                                           District of&ROXPELD

                  United States of America
                             v.                                      )
                                                                     )         Case No.
                       Frank Dahlquist
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                            Defendant


                                                        ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                              Frank Dahlquist                                               ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment          u Information        u Superseding Information              ;
                                                                                                                        u Complaint
u Probation Violation Petition               u Supervised Release Violation Petition       u Violation Notice           u Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1),(2), and (4) - Knowingly Entering or Remaining in any Restricted Building or Grounds
Without Lawful Authority;
18 U.S.C. § 111(a)(1), Forcibly assaulting, resisting, opposing, or impeding a person designated in section 1114;
18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder;
40 U.S.C. § 5104(e)(2) (D) and (G) - Violent Entry and Disorderly               Capitol Grounds.
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                                                                                                 i officer’s
                                                                                                     ff      signature

City and state:                      :DVKLQJWRQ'&                         Robin M. Meriweather, U.S. Magistrate Judge
                                                                                               Printed name and title


                                                                   Return

           This warrant was received on (date)                           , and the person was arrested on (date)
at (city and state)                                            .

Date:
                                                                                           Arresting officer’s signature



                                                                                               Printed name and title
